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                     IN TH E U N ITED STATE S D ISTR ICT C O U R T
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FA H ED T.TA W AL BEH ,                     )      C ivilAction N o.7:00:v00858
                                            )
                                            )      M EM O R AN D U M O PIN IO N
                                            )
UNITED STATE S O F A M ER IC A              )      By:Sam uelG .W ilson
                                            )      U nited States D istrictJudge

      Fahed T.Tawalbeh,afederalinmateproceedingpro se,filed amotion (DocketNo.27)
pursuantto Rule 60(b)ofthe FederalRulesofCivilProcedure seeking to vacate thiscourt's
February 22,2002 order denying his m otion to vacate,setaside,or correctsentence pursuantto

28U.S.C.j2255.ThecourttindsthatTawalbeh'sinstantmotionis,forallintentsandpurposes,
anunauthorized,successivej2255motionand,therefore,dismissesitwithoutprejudice.


      In 1998,afterajury trial,the courtconvicted Tawalbeh ofseveralofseveraloffenses
arisingoutofthe bum ing ofa competitor'sstorewith a CdM olotov Cocktail.'' Taw albeh appealed

and the United States Court of Appeals for the Foul'th Circuit affirmed his conviction and

sentence.ln2000,Tawalbeh filedaj2255motion,whichthecourtdismissed.SeeCivilAction
No.7:00cv00858 (dismissed Feb.22,2002). ln 2007,Tawalbeh filed amotion to reduce his
sentence pursuantto 18 U.S.C.j 3582(c)(2),which the courtconstrued and dismissed as a
successivej2255motion.SeeCivilActionNo.7:07cv00145(dismissedApr.9,2007).OnJuly
11,2012,Tawalbeh filed theinstantmotion in his2000 closed j2255 action,arguing thatthe
courtshouldvacateitsorderdismissinghisj2255action becauseTawalbehhasdiscoverednew
evidence and there has been a substantive change in the law .
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                                               lI.

       TheFederalRulesofCivilProcedure,includingRule60(b),govern civilactionsfiled in
federaldistrictcourts. tdsuch rules,designed to govern litigation ofcivilactions,do notand

cnnnotprovide authority for attacking oroverturning a criminaljudgment.'' United Statesv.
M erica,N os.5:04CR 00015,5:11CV 80375,2011 U .S.D ist.LEXIS 144998,2011 W L 6325881,

at*2 (W .D.Va.Dec.16,2011),
                          .seealso United Statesv.Bernier,421F.App'x 292,293 (4th
Cir.2011) (Ct-f'
               he Federal Rules of CivilProcedure do notprovide a vehicle by which ga
defendantlmaychallengehiscriminaljudgment.'').Tothisend,aSkRule60(b)motionthatseeks
to revisitajudgmentdismissing a j 2255 action aswithoutmeritshould be dismissed as a
successive habeas petition to preventdefendantsfrom using such a m otion to circum ventthe rule

againstsuccessive j2255 actionsin j2255(h).'' M erica,2011U.S.Dist.LEXIS 144998,2011
W L 6325881,at*2 (citing Gonzalez v.Crosby,545 U.S.524,531-32 (2005)). ûtsimilarly,a
m otion which seeks to advance one orm ore substantive claim s allegedly om itted from the initial

j2255motion orto submitnew evidenceorargumentinsupportofadaim raised inthepriorj
2255 motion mustalsobe construed and dismissed asanew,successive j 2255 motion.'' L4z
(citingGonzalez,545U.S.at531-32).However,nota11Rule60(b)motionsmaybeconstruedas
asuccessivej2255motion. M orespeciically,when aRule60(b)motion attacksthecollateral
review processin a j2255 proceeding (acivilproceeding),asopposed tothe substanceofthe
federalcourt's resolution ofa claim on the m erits,then the m otion may notbe construed as a

successive j 2255 motion. Gonzalez,545 U.S.at532.
                                                ,United Statesv.W inestock,340 F.3d
200,207(4thCir.2003).
       Tawalbeh advancestwo argumentsin hisRule 60(b)motion,neitherofwhich allegea
defect in the civilcollateral review process. lnstead,both of his argum ents either address the
                                                2
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meritsofhispriorj 2255 claimsorwere omitted from hispriorj 2255 claims. Undereither
scenario,andregardlessofSslwlhatevertitleortwist(Tawalbehlattachesto hiscurrentmotion,it
isclearthathisintention isto obtain relieffrom the criminaljudgmentagainsthim.'' Merica,
201lU.S.Dist.LEXIS 144998,2011W L 6325881,at*2. Assuch,Rule60(b)oftheFederal
Rules of CivilProcedure fails to supply him w ith the authority for the rem edy that he seeks in

thiscriminalaction.Tawalbeh'sRule60(b)motion must,therefore,beconstruedbythiscourtas
asuccessivej2255motion.
        Thiscourtmayconsiderasuccessivej2255motiononlyuponspeciticcertitication from
the U nited States Court of Appeals for the Fourth Circuit that the claim s in the m otion m eet

certain criteria.28 U.S.C.j 2255(19. AsTawalbeh has notsubmitted any evidence ofsuch
certification by the Courtof Appeals,1the courtmustdismissthe instant j 2255 motion as
successive.2

                                                     111.

        Forthereasons stated,the courtconstnlesTawalbeh'smotion asa j2255 motion and
                                                                                             N
                                                                                         z.s''
dism isses itassuccessive.

        ENTER:'
              rhisz/h dayofJuly,2012.

                                                             n'     StatesD istrictJudge



'In fact, thiscourtreceived notice on M arch 31,2008 thattheUnited StatesCourtofAppealsdenied Tawalbeh's
requestforpermissiontofileasuccessivej2255motion.SeeDocketNo.26.
2Petitionerishereby advised ofthe procedureforobtaining certification from the U nited StatesCourtofAppeals
fortheFourth Circuitto havethiscourtreview asuccessive j2255 motion. Petitionermustsubm itacopy ofthe
successivej2255motiontotheCourtofAppeals,alongwithamotionrequestingathree-judgepanelcertification
thatthedistrictcourtmay review thesuccessive j2255motion. See28 U.S.C.j2244 (asamended,1996). A
Fourth Circuitform and instructionsforfiling thism otion w illbe included with thisnoticeorare availablefrom the
Fourth Circuitatthefollow ing address:O ffk eofthe Clerk,United StatesCourtofAppealsforthe Fourth Circuit,
900 E.M ain St.,Richm ond,VA 232 19.
